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                             BEFORE THE
                     UNITED STATES JUDICIAL PANEL
                     ON MULTIDISTRICT LITIGATION


In re: REAL ESTATE COMMISSION                MDL No. 3100
ANTITRUST LITIGATION




JOINDER OF WHALEY CLASS PLAINTIFFS (NEVADA) TO THE LEGAL
 ARGUMENTS SET FORTH IN THE HOMESERVICES DEFENDANTS’
     BRIEF IN OPPOSITION TO MOTION FOR TRANSFER AND
                     CENTRALIZATION

      Plaintiff, Nathaniel Whaley (“Whaley”), hereby submits this joinder, on

behalf of himself and on behalf of the plaintiff classes (the “Nevada Classes”)

consisting of all persons who listed properties on one of the Multiple Listing

Services (the “Subject MLS”) and paid a buyer broker commission from at least

January 15, 2020 until the Present (the “Subject MLS Class Period”) and that are
referenced in that certain amended complaint (attached hereto as Exhibit 1) (the

“Whaley Amended Complaint”) in that certain civil action styled Whaley v.

National Association of Realtors, et al. currently pending before the United States

District Court for the District of Nevada, Case No. 2:24-cv-00105-GMN-MDC (the

“Nevada Whaley Class Action”) to the legal arguments set forth in The

HomeServices Defendants’ Brief in Opposition to Motion for Transfer and

Centralization (ECF No. 251) the “HomeServices Opposition”).

      Whaley joins the legal arguments against transfer and centralization set forth

in the HomeServices Opposition. As the Panel can plainly see from even a cursory


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review of the Whaley Amended Complaint, the Nevada Whaley Class Action

involves localized issues of Nevada law and names local defendants that are not

named in other litigations. Transfer and centralization will not promote the just and

efficient disposition of the Nevada Whaley Class Action; rather, Whaley respectfully
submits that transfer and centralization will increase the cost and expense of

litigating the Nevada Whaley Class Action, will not be convenient for the parties and

witnesses in the Nevada Whaley Class Action, and will not promote the just and
efficient resolution of the Nevada Whaley Class Action.

      For these reasons, as well as the legal arguments set forth in the HomeServices

Opposition, Whaley respectfully submits that the motion seeking transfer and
centralization be denied.


      DATED: January 26, 2024.


                                             BEN’S LAW


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                                             Whaley v. National Association of
                                             Realtors, et al.




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